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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF OKLAHOMA


(1) National Cancer Assistance
Foundation Inc., a Delaware Corporation


                            Plaintiff(s),

                                                                 Case No. 17-CV-00777-R

(1) National Community Advancement, Inc., a
Delaware Corporation, and
(2) Courtesy Call, Inc., a Nevada Corporation

                            Defendant(s)

                                     ENTRY OF APPEARANCE


 To the Clerk of this court and all parties of record:

           Enter my appearance as counsel in this case for:
 Defendant                  (1) National Community Advancement, Inc.
 (Plaintiff/Defendant)                         (Name of Party)


      I certify that I am admitted to practice in this court and am registered to file
 documents electronically with this court.


                                   s/ Cralg A. Fitzgerald                             9/5/17

                                   Signature                                              Date


                                    Craig A. Fitzgerald
                                   Print Name

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  REVISED 8/31/06
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